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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,              )
                                           Case No. 19cr10080-NMG-4
                                       )
     Plaintiff,                        )
     v.                                    REQUEST FOR ORAL ARGUMENT
                                       )
                                       )
GAMAL ABDELAZIZ, et al,                    FILED UNDER SEAL
                                       )
                                           Motion for Leave to File Under Seal Granted
                                       )
     Defendants.                           August 17, 2021




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